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                                     No. 6:20-cv-00582
                            consolidated with No. 6:20-cv-00583

                                  Johnny Lee Wickware,
                                          Plaintiff,
                                             v.
                                 Sheriff Larry Smith et al.,
                                         Defendants.


                                FINAL JUDGMENT

                 The court, having rendered its decision by separate order, hereby
             enters judgment that all claims in this matter are dismissed without
             prejudice. Any pending motions are denied as moot. The clerk of
             court is directed to close this case.
                                      So ordered by the court on November 8, 2021.



                                                   J. CAMPBELL BARKER
                                                  United States District Judge
